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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK

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VIRGINIA L. GIUFFRE,

        Plaintiff,
v.
                                                                                                         15-cv-07433-RWS
GHISLAINE MAXWELL,

        Defendant.


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                     DEFENDANT’S SUR SUR-REPLY IN SUPPORT OF
                       MOTION FOR RULE 37(b) &(c) SANCTIONS




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       Defendant Ghislaine Maxwell (“Ms. Maxwell”) files this Sur Sur-Reply (“Sur Sur-

Reply”) to Plaintiff’s Sur-Reply in Response to Defendant’s Reply is Support of Motion for

Sanctions (“Sur-Reply”), stating as follows:

                                        INTRODUCTION

       Plaintiff’s Response and Sur-Reply are founded entirely on a miscomprehension of the

requirements of Federal Rules of Civil Procedure 26 and 33. She strenuously argues that she has

“disclosed” various treatment providers because their names are buried in records that she has

belatedly produced and which she obtained only after defense counsel had identified their

existence and absence through independent investigation. Such production, however, does not

constitute “disclosure” of these treatment providers under the Rules and does not satisfy

Plaintiff’s obligation to provide sworn Responses to Interrogatories – issued in February –

requiring her to provide the names of her medical treatment providers and dates and nature of

treatments. Despite this Court’s Order and the Motion to Strike Plaintiff’s damages claims for

her refusal to comply with discovery obligations, to date, Plaintiff has still failed to provide a

single listing of all of her health care providers and the nature of treatment.

       Even after filing her Sur-Reply, a new treating physician of Plaintiff’s has emerged, as

well as the likelihood that all of Plaintiff’s medical and prescription records in Australia are

documented through Plaintiff’s participation in that country’s Medicare program. Thus, her

claimed failure to remember all of her doctor’s names does not square with the information

readily available to herself and her attorneys.

       A.      Plaintiff Has Failed to Comply with Her Obligations to Respond to
               Interrogatory Requests as Ordered by the Court.

       Plaintiff speciously argues she has “disclosed” treatment providers and complied with the

Court’s Order to respond to Interrogatories relating to her medical treatment providers because

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some of her treatment providers’ names are embedded amongst thousands of belatedly produced

documents, many produced the same day as her Response to the Motion or the day she filed the

Sur-Reply. Production of documents that include names of doctors does not satisfy Plaintiff’s

obligation to respond to the Interrogatory1 Requests as specifically ordered by the Court. Fed. R.

Civ. P. 33(b)(1) requires that “[e]ach interrogatory shall be answered separately and fully.” The

mere production of records does not satisfy the obligation to respond to each interrogatory

including its related subparts, separately and fully.

         A submission by that party's counsel which cross-references pleadings and
         exhibits is simply not an answer to that interrogatory by that party. It must be
         recalled that interrogatories serve not only as a discovery device but as a means of
         producing admissible evidence; there is no better example of an admission of a
         party opponent, which is admissible because it is not hearsay
         (Fed.R.Evid.801(d)(2)), than an answer to an interrogatory. See Fed.R.Civ.P.
         33(c) (expressly authorizing the use of interrogatories at trial to extent permitted
         by the law of evidence). A response which is nothing more than a cross-reference
         by counsel to other pleadings and exhibits is certainly not that kind of admission
         and defendant has every right to insist that the answer to its interrogatories be in
         the form the Federal Rules of Civil Procedure requires.

Melius v. Nat'l Indian Gaming Com.m'n, No. CIVA98-2210(TFH/JMF), 2000 WL 1174994, at

*1 (D.D.C. July 21, 2000).

         To the extent that Plaintiff attempts to rely on Rule 33(d) to claim that her production of

records containing some of her treatment providers’ names has satisfied her discovery

obligations, such reliance in misplaced. First, to rely on this Rule, a party must “(1) specify[] the

records that must be reviewed, in sufficient detail to enable the interrogating party to locate and

identify them as readily as the responding party could.” Fed. R. Civ. P. 33(d)(1); see also In re

1 The Interrogatories at issue request “a. the Health Care Provider’s name, address, and telephone number; b. the
type of consultation, examination, or treatment provided; c. the dates You received consultation, examination, or
treatment; d. whether such treatment was on an in-patient or out-patient basis; e. the medical expenses to date; f.
whether health insurance or some other person or organization or entity has paid for the medical expenses; and g. for
each such Health Care Provider, please execute the medical and mental health records release attached hereto as
Exhibit A” both before and after the alleged defamatory statement. Plaintiff has only answered one of the two
Interrogataories, and wholly failed to answer the other, for treatment post-defamation. She offers no excuse for this
failure.

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Vivendi Universal, S.A. Sec. Litig., No. 02 CIV. 5571 RJH HBP, 2009 WL 8588405, at *6

(S.D.N.Y. July 10, 2009) (“Rule 33(d) does not permit a party to respond to an interrogatory by

simply pointing to a mass of documents and advising the interrogating party that the answer to its

question is ‘in there somewhere.’ A Rule 33(d) interrogatory response must, to some extent,

specify the appropriate documents from which the information sought can be derived.”);

Hypertherm, Inc. v. Am. Torch Tip Co., Civ. No. 05–cv–373–JD, 2008 WL 5423833, at *3

(D.N.H. Dec. 29, 2008) (“‘[M]aking only a general reference to a mass of documents or records’

is an abuse of Rule 33(d).”). To date, Plaintiff has failed to serve any supplements to her

Interrogatory Responses that identifies all of her medical providers, let alone that refers to

specific records that might include the remaining responsive information.

       Second, the Interrogatories do not call for business records: they call for the identification

of treatment providers and specific information about the treatment provided. In re Savitt/Adler

Litig., 176 F.R.D. 44, 49 (N.D.N.Y. 1997) (improper to refer to records where interrogatory

requested basis for claims and contentions, not business records).

       Third, a party may only rely on Rule 33(d) when referring to its own business records in

response to an interrogatory. Fed. R. Civ. P. 33(d) “OPTION TO PRODUCE BUSINESS RECORDS. If

the answer to an interrogatory may be determined by examining, auditing, compiling,

abstracting, or summarizing a party's business records. . .” Rule 33(d) does not permit a party

to respond to interrogatories by reference to the business records of a third party. In re

Savitt/Adler Litig., 176 F.R.D. at 49; see also United States ex rel. Landis v. Tailwind Sports

Corp., No. 1:10-CV-00976 (CRC), 2016 WL 2944648, at *3 (D.D.C. May 20, 2016) (“courts

and commentators have long agreed that Rule 33(d) applies ‘only where the answers to the

interrogatories may be found in the business records of the party upon whom the interrogatories



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have been served.’”) (citing McSwiggin v. Limousine, No. 2:14–cv–02172–JCM–NJK, 2016 WL

1030053, at *6 (D.Nev. Mar. 10, 2016)); see also 1970 Advisory Comm. Note to Fed. R. Civ. P.

33(c) (now 33(d)) (“This is a new subdivision ... relating especially to interrogatories which

require a party to engage in burdensome or expensive research into his own business records in

order to give an answer.” (emphasis added)). Plaintiff’s “disclosure” of medical providers

through belated production of partial medical records received from her treatment providers

simply does not satisfy her obligation to fully and separately respond to the Interrogatory

Requests, as this Court ordered.

       B.      The Belated Production of Medical Records Does Not Satisfy Rule 26
               Requirements or the Duty to Supplement

       Plaintiff, to date, has not listed a single one of her medical treatment providers in her

Rule 26 Disclosures.

       Rule 26(e)(1)(A) mandates that a party must supplement their initial disclosures as well

as responses to interrogatories and requests for production of documents “in a timely manner if

the party learns that in some material respect the disclosure or response is incorrect and

incomplete.” “The duty to supplement and correct disclosures and responses is a continuing duty

and no motion to compel further supplementation is required.” Lima LS PLC v. PHL Variable

Ins. Co., No. 3:12CV1122 WWE, 2014 WL 2002485, at *2 (D. Conn. May 15, 2014) (citing 6

Moore's Federal Practice, § 26.131[3] [3d Ed.2012]). This duty is not only triggered by a court

order but “whenever a party learns that its prior disclosures are in some material respect

incomplete or incorrect.” Id. (citing Federal Practice, supra at § 26.13[3]; Fed. R. Civ. P.

26(e)(1)(A) and (B)). Plaintiff still has not listed all of her doctor’s names nor provided their

records despite obvious knowledge that her prior disclosures and Interrogatory Responses are

incomplete, and thus has wholly ignored her duty of supplementation.

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       Plaintiff’s duty of supplementation, both of her Rule 26 Disclosures and her Interrogatory

Responses, is not met by producing documents in which one or more doctors’ names may be

embedded, especially in light of the over 7,000 document produced by Plaintiff in this case. Pal

v. New York University, No. 06 Civ. 5892, 2008 WL 2627614 (S.D.N.Y. June 30, 2008)

(production of documents which may contain a witness’s name does not meet Rule 26(a)(1)

disclosure obligations and failure to supplement Rule 26 disclosures with witnesses name

resulted in Rule 37 sanctions); Lebada v. New York City Dep't of Educ., No.

14CIV758LAKGWG, 2016 WL 626059, at *5 (S.D.N.Y. Feb. 8, 2016) (“Rule 26(a) thus fulfills

a critical function: transmitting formal notice from the disclosing party to the opposing party that

the opposing party should be prepared for the disclosing party to use the information provided by

the witness. In the absence of such a disclosure, the opposing party can properly assume that its

adversary will not rely upon that witness.”).

       The Sur-Reply’s argument that “Ms. Giuffre, in her Rule 26 disclosures, stated that for

computation of medical damages, she would be relying upon medical records collected from her

physicians and expert testimony” simply proves that Plaintiff was obligated to provide all of her

medical provider’s names and contact information from the inception of this case. Under Rule

26(a)(1), Plaintiff was obligated to provide “the name and, if known, the address and telephone

number of each individual likely to have discoverable information—along with the subjects of

that information—that the disclosing party may use to support its claims or defenses.” Plaintiff

states that she has planned all along to rely on the medical records of her physicians,

necessitating that they had relevant information and were required to be disclosed under Rule

26(a). Yet, to date, despite Plaintiff’s multiple supplementations of her Rule 26(a) witnesses,

two interrogatories requesting medical provider information, this Court’s April 21 Order



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through diligent research and dogged follow up, not because Plaintiff has complied with

discovery obligations. As fully set forth in the Reply, a party cannot avoid the penalties of its

own sanctionable conduct simply because the opposing party has been able to overcome some of

the obstructionist tactics. Nittolo v. Brand, 96 F.R.D. 672, 676-77 (S.D.N.Y. 1983); Penthouse

Int'l, Ltd. v. Playboy Enterprises, Inc., 663 F.2d 371, 390 (2d Cir. 1981) (affirming dismissal

pursuant to Rule 37 where plaintiff refused to produce certain records in violation of court

discovery order and where false testimony, material misrepresentations by counsel and foot-

dragging were used in an effort to prevent defendant from getting at the relevant records, despite

subsequent production of the records).

       The harm to Ms. Maxwell is real. Because new doctors are pouring in at the close of fact

discovery, most of whom reside in Australia, Ms. Maxwell is effectively precluded from

deposing these witnesses and obtaining other fact discovery from them. Had the doctors been

disclosed, as they ought, at the outset of the case, ample time would have been permitted for

seeking discovery from these treatment providers.

                                         CONCLUSION

       Plaintiff’s steadfast refusal to comply with this Court’s order and her refusal to comply

with discovery requirements despite the pending motion for sanctions makes clear that Plaintiff

has no justification for her non-compliance and that it is willful and intentional. Preclusion of

Plaintiff’s claims regarding physical and emotional distress damages is the appropriate sanction

for Plaintiff’s failure to comply with the Court’s April 21, 2015 discovery order, Rule 26(a) and

Rule 33 by refusing to specifically identify medical providers that have relevant information

bearing directly on these damages claims. At a minimum, Plaintiff must be precluded from

relying on evidence from these undisclosed witnesses.



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       WHEREFORE, for the foregoing reasons, and those set forth in the Motion, Ms.

Maxwell requests that the relief requested in the Motion be granted.



Dated: July 25, 2016



                                                Respectfully submitted,



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                                CERTIFICATE OF SERVICE

      I certify that on July 25, 2016, I electronically served this Defendant’s Sur Sur-Reply in
Support of Motion for Rule 37(b) &(c) Sanctions via ECF on the following:

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